Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 1 of 9 PAGEID #: 14480




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

                                                  )
  In re FIRSTENERGY CORP.                         )   Case No. 2:20-cv-03785-ALM-KAJ
  SECURITIES LITIGATION,                          )
  ___________________________                     )   CLASS ACTION
                                                  )
  This document relates to:                       )   Chief Judge Algenon L. Marbley
                                                  )   Magistrate Judge Kimberly A. Jolson
        ALL ACTIONS.                              )   Special Master Shawn K. Judge
  ___________________________                     )
                                                  )
                                                  )


 CHARLES E. JONES’S WRITTEN SUBMISSION TO SPECIAL MASTER SHAWN K.
 JUDGE PRIOR TO STATUS CONFERENCE CONCERNING CONFIDENTIALITY OF
                       PLAINTIFFS’ EXHIBIT 486

 I.     INTRODUCTION

        On May 31, 2024, plaintiffs publicly filed their Opposition to FirstEnergy’s Motion for

 Certification of an Order for Interlocutory Appeal under 18 U.S.C. §1292(b) and for Stay Pending

 Appellate Review (ECF No. 664) (“Plaintiffs’ Opposition Brief”). Exhibit 3 to Plaintiffs’

 Opposition Brief is an email chain produced by Charles Jones from his personal email account that

 contains personal, sensitive financial information concerning both Mr. Jones and a non-party to

 this action. Mr. Jones designated this document as Confidential under the Amended Stipulated

 Protective Order (ECF 411) (“SPO”), and plaintiffs subsequently marked it as Plaintiffs’ Exhibit

 486 (“Pl. Ex. 486”). Plaintiffs filed Pl. Ex. 486 under seal in accordance with the SPO, but have

 challenged Mr. Jones’s confidentiality designation and submitted it to the Special Master for in

 camera review via email. Because Pl. Ex. 486 was appropriately designated as Confidential under

 the SPO, the Special Master should overrule plaintiffs’ challenge to the confidentiality designation

 and plaintiffs should be prohibited from filing Pl. Ex. 486 on the public docket.
Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 2 of 9 PAGEID #: 14481




 II.       MR. JONES’S POSITION

           A.      Pl. Ex. 486 Should be Kept Confidential Pursuant to Protective Order

           Mr. Jones satisfies his burden to demonstrate that “good cause” exists to maintain the

 confidentiality of Pl. Ex. 486 under the SPO and Fed. Civ. R. 26(c). Courts routinely find that good

 cause exists to maintain confidentiality of personal financial information similar to that contained

 in Pl. Ex. 486, including income, bank account balance, tax information, and marital assets, among

 others. Cooper v. Longwood Forest Prod., Inc., No. 2:20-CV-3332, 2021 WL 4894707, at *3 (S.D.

 Ohio May 10, 2021). Courts recognize a strong interest in keeping personal financial information

 such as this confidential, and even more so when the potential disclosure of information involves

 innocent third parties—here, the sensitive information at issue pertains not just to Mr. Jones, but

 also to his spouse, who is not a party to this action. Goodman v. J.P. Morgan Inv. Mgmt., Inc., 301

 F. Supp. 3d 759, 784–85 (S.D. Ohio 2018), aff’d, 954 F.3d 852 (6th Cir. 2020) (“Courts have

 recognized the strong interest in keeping personal financial records from public view”); SMA

 Portfolio Owner, LLC v. Corporex Realty & Investment, LLC, Civil Action No. 12–23–DLB–

 JGW, et al., 2014 WL 12650589 at *3 (W.D. Ky. Apr. 18, 2014) (“Indeed, it is undisputed that a

 person or entity possesses a ‘justifiable expectation’ of privacy that their names and financial

 records not be revealed to the public.”); Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan,

 825 F.3d 299, 308 (6th Cir. 2016) (“Finally, the point about third parties is often one to take

 seriously; the privacy interests of innocent third parties should weigh heavily in a court’s balancing

 equation.”) (internal quotation omitted).

           Pl. Ex. 486 contains the following detailed information concerning both Mr. Jones and his

 spouse:

           •    Details of cash holdings,




                                                   2
Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 3 of 9 PAGEID #: 14482




        •   Details about investments in particular funds and companies (including both in

            FirstEnergy and non-FirstEnergy holdings),

        •   Advice from Mr. and Mrs. Jones’s personal financial advisor regarding their

            investments,

        •   Details about Mr. and Mrs. Jones’s retirement planning, income taxes, and future real

            estate decisions,

        •   Details about Jones family trusts and their holdings, and

        •   The email addresses of Mrs. Jones and the Jones’s financial advisor.

 This information is contained in a private email exchange involving Mr. and Mrs. Jones and their

 personal financial advisor, using Mr. and Mr. Jones’s personal email accounts. Mr. Jones and his

 spouse clearly expected that this communication would remain confidential.

        Courts have routinely permitted similar personal financial information to remain

 confidential. Goodman v. J.P. Morgan Inv. Mgmt., Inc., 301 F. Supp. 3d 759, 784–85 (S.D. Ohio

 2018), aff’d, 954 F.3d 852 (6th Cir. 2020); Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan,

 825 F.3d 299, 308 (6th Cir. 2016); Wedgewood Ltd. P’ship I v. Twp. of Liberty, Ohio, No. CIV.A.

 2:04-CV-1069, 2008 WL 4273084, at *2 (S.D. Ohio Sept. 11, 2008) (concerning testimony of

 plaintiff’s private income and financial data); Ernest Bock, LLC v. Steelman, No.

 219CV01065JADEJY, 2020 WL 7643223, at *5 (D. Nev. Dec. 23, 2020) (records regarding assets

 and finances; tax documents reporting income, ownership, and distributions; and documents

 containing information revealing investments, assets, liabilities, securities, retirement funds, and

 loans); Ins. Distributors Int’l (Bermuda) LTD. v. Edgewater Consulting Grp. LTD., No. A-08-CA-

 767 AWA, 2010 WL 3064003, at *2 (W.D. Tex. Aug. 2, 2010) (“Personal financial information,

 such as one’s income or bank account balance, is universally presumed to be private, not public.”);



                                                  3
Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 4 of 9 PAGEID #: 14483




 State Farm Mut. Auto. Ins. Co. v. Elite Health Centers, Inc., No. 2:16-CV-13040, 2018 WL

 3649554, at *4 (E.D. Mich. Aug. 1, 2018) (tax returns and profit and loss statements).

        B.      If Pl. Ex. 486 is Filed it Must be Filed Under Seal

        “[P]arties who move to seal documents must demonstrate the three elements laid out in

 Shane Group: (1) a compelling interest in sealing the records; (2) that the interest in sealing

 outweighs the public’s interest in accessing the records; and (3) that the request is narrowly

 tailored.” Wilson v. Ancestry.com LLC, No. 2:22-CV-861, 2024 WL 1539450, at *2 (S.D. Ohio

 Feb. 6, 2024) (Jolson, M.J.). These factors are satisfied here.

        As an initial matter, Pl. Ex. 486 should not be filed at all because Local Rule 7.2 requires

 that “[e]vidence submitted, including discovery documents, shall be limited to that necessary for

 decision and shall include only essential portions of transcripts or exhibits referenced in the

 memorandum.” Here, Pl. Ex. 486 is not only not “essential” to plaintiffs’ opposition to

 FirstEnergy’s motion for leave to appeal, it is not even relevant. And, even if plaintiffs could

 demonstrate some tangential relevance (they cannot), the only conceivably pertinent information

 within Pl. Ex. 486 would be cumulative of information in other documents that plaintiffs already

 have filed publicly as exhibits to the same brief.

        Regarding the first Shane Group factor, there is a compelling interest in sealing Pl. Ex.

 486, which contains confidential personal financial information of a party and a non-party. This

 private and sensitive personal financial information is the type of information that “is universally

 presumed to be private, not public.” Ins. Distributors Int’l (Bermuda) LTD. v. Edgewater

 Consulting Grp. LTD., No. A-08-CA-767, 2010 WL 3064003, at *2 (W.D. Tex. Aug. 2, 2010).

 Mr. Jones has “a strong interest in the privacy of the particulars of his and his family’s personal

 financial information,” which “outweighs any common law presumption of access in these

 circumstances.” Id.


                                                      4
Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 5 of 9 PAGEID #: 14484




        Courts routinely allow personal financial information to be filed under seal. In Goodman

 v. J.P. Morgan, 301 F. Supp. 3d 759, 784 (S.D. Ohio 2018) aff’d, 954 F.3d 852 (6th Cir. 2020),

 for example, the court allowed a plaintiff to file under seal the details of her investments, including

 information directly at issue in the litigation. Id. at 784; see also Wedgewood Ltd. P’ship v. Liberty

 Twp., 2:04-CV-1069, 2008 WL 4273084, at *2 (S.D. Ohio Sept. 11, 2008) (“Testimony relating

 to plaintiff’s private income and financial data is also deserving of protection if not otherwise

 publicly disclosed.”); Ernest Bock, LLC v. Steelman, No. 219CV01065, 2020 WL 7643223, at *5

 (D. Nev. Dec. 23, 2020) (permitting the sealing of exhibits containing defendant’s “records [of]

 assets and finances; tax documents reporting income, ownership, and distributions; and documents

 containing information revealing . . . their investments, assets, liabilities, securities, retirement

 funds, and loans.”); SMA Portfolio Owner, LLC v. Corporex Realty, No. 12–23–DLB–JGW, 2014

 WL 12650589 at *3 (W.D. Ky. Apr. 18, 2014) (“a person or entity possesses a ‘justifiable

 expectation’ of privacy that their names and financial records not be revealed to the public.”).

        The private financial information of Mrs. Jones, a non-party, is entitled to heightened

 protection. As the Sixth Circuit made clear in Shane Group., “the privacy interests of innocent

 third parties should weigh heavily in a court’s balancing equation.” 825 F.3d at 308. See also Ins.

 Distributors Int’l v. Edgewater Consulting Grp., No. A-08-CA-767, 2010 WL 3064003, at *2

 (W.D. Tex. Aug. 2, 2010) (sealing trial testimony and exhibits regarding a non-party’s specific

 investment amounts or value); Watkins v. Tr. of Bullitt, No. 3:13-CV-1113, 2017 WL 3082672, at

 *3 (W.D. Ky. July 19, 2017) (sealing income information that would reveal financial information

 about non-party trust beneficiaries); Provident v. Teva Pharms. Indus. Ltd., No. 20-4660, 2023

 WL 1100995, at *4-5 (E.D. Pa. Jan. 30, 2023) (allowing sensitive financial transaction and account

 information of plaintiff and their family to be filed under seal); Iannone v. AutoZone, Inc., No. 19-




                                                   5
Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 6 of 9 PAGEID #: 14485




 CV-2779, 2023 WL 3083436, at *4 (W.D. Tenn. Apr. 25, 2023) (sealing confidential competitive

 information of non-party to the litigation); Schnatter v. 247 Grp., LLC, No. 320-cv-00003, 2022

 WL 188193, at *5 (W.D. Ky. Jan. 20, 2022) (sealing confidential information about non-party

 clients); Knopp v. Cent. Mich. Cmty. Hosp., No. 09-10790, 2010 U.S. Dist. LEXIS 32714, at*4

 (E.D. Mich. Apr. 2, 2010) (sealing employee evaluation of non-party to be sealed with “the

 [extraneous personal] information is not material to the resolution of the motion”).

        Regarding the second factor, the public interest in access to confidential information is

 outweighed when, as here, the information sought to be kept confidential and file under seal is not

 essential to the issue to be decided by the court. See Reliant Cap. Sols., LLC v. Ram Payment, LLC,

 No. 2:22-CV-03047, 2022 WL 16569215, at *2 (S.D. Ohio Nov. 1, 2022) (Marbley, J.) (there is

 minimal harm to the public interest if the public will not need to view the parties information to

 understand the dispute or arguments made in a motion); Wilson v. Ancestry.com LLC, No. 2:22-

 CV-861, 2024 WL 1539450, at *4 (S.D. Ohio Feb. 6, 2024) (Jolson, M.J.) (public does not have a

 strong interest in accessing information that is not essential to understanding claims); Ewalt v.

 GateHouse Media Ohio Holding II, Inc., No. 2:19-CV-4262, 2023 WL 4842767, at *3 (S.D. Ohio

 June 23, 2023) (Jolson, M.J.) (lesser public interest where confidential business and financial

 information is not necessary to understand the dispute or arguments made).

        This is especially so at the pre-trial and non-dispositive stage of litigation. Plaintiffs’

 Opposition Brief is a pretrial discovery motion. Any public interest in access to confidential

 information that may apply at the summary judgement or trial stage is not applicable here. See

 Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299, 305 (6th Cir. 2016) (Secrecy

 is fine at the discovery stage, before the material enters the judicial record.” Baxter Int’l, Inc. v.

 Abbott Labs., 297 F.3d 544, 545 (7th Cir. 2002)); S&S Holdco, Inc. v. S&S Holdco Holdings, LLC,




                                                   6
Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 7 of 9 PAGEID #: 14486




 No. 1:19-CV-1071, 2020 WL 5760649, at *3 (S.D. Ohio Sept. 28, 2020); United States v. Snyder,

 187 F. Supp. 2d 52, 62-63 (N.D.N. Y. 2002).

        Regarding the third factor, Mr. Jones’ request that Pl. Ex. 486 be filed under seal is

 narrowly tailored. Mr. Jones does not seek to seal “broad swaths of the court record,” Shane

 Group, 825 F.3d at 307, rather, Exhibit 468 a single, two-page email between Mr. Jones, Mrs.

 Jones, and their personal financial advisor. Additionally, because the email is a discussion between

 Mr. and Mrs. Jones and their financial advisor, the confidential information pervades the document

 such that it should be sealed in its entirety. See United States ex rel. Kramer v. Doyle, No. 1:18-

 CV-373, 2023 WL 3243195, at *3 (S.D. Ohio May 4, 2023) (“Given the pervasive nature of the

 sensitive information, the Court agrees that redaction is not a viable alternative.”); S&S Holdco,

 Inc. v. S&S Holdco Holdings, LLC, No. 1:19-CV-1071, 2020 WL 5760649, at *3 (S.D. Ohio Sept.

 28, 2020) (permitting filing under seal without redaction where “the filing of redacted versions is

 infeasible and unnecessary as confidential information is prevalent throughout the documents”).


 III.   CONCLUSION

        For the foregoing reasons, Pl. Ex. 486 should remain confidential and filed, if at all,

 under seal.


  Date: June 5, 2024                                  Respectfully submitted,



                                                      /s/ Carole S. Rendon
                                                      Carole S. Rendon (0070345)
                                                      Daniel R. Warren (0054595)
                                                      Douglas L. Shively (0094065)
                                                      Jeremy Steven Dunnaback (0098129)
                                                      Rachael L. Israel (0072772)
                                                      BAKER & HOSTETLER LLP
                                                      127 Public Square, Suite 2000
                                                      Cleveland, OH 44114-1214


                                                  7
Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 8 of 9 PAGEID #: 14487




                                            Telephone: 216-621-0200
                                            Fax: 216-696-0740
                                            crendon@bakerlaw.com
                                            dwarren@bakerlaw.com
                                            dshively@bakerlaw.com
                                            jdunnaback@bakerlaw.com
                                            risrael@bakerlaw.com

                                            Albert G. Lin (0076888)
                                            BAKER & HOSTETLER LLP
                                            200 Civic Center Drive, Suite 1200
                                            Columbus, OH 43215
                                            Telephone: 614-228-1541
                                            Fax: 614-462-2616
                                            alin@bakerlaw.com

                                            George A. Stamboulidis (admitted pro hac
                                            vice)
                                            BAKER & HOSTETLER LLP
                                            45 Rockefeller Plaza
                                            New York, NY 10111
                                            Telephone: 212-589-4211
                                            Fax: 212-589-4201

                                            William S. Scherman (admitted pro hac
                                            vice)
                                            Jennifer C. Mansh (admitted pro hac vice)
                                            VINSON & ELKINS LLP
                                            2200 Pennsylvania Avenue, NW
                                            Suite 500 West
                                            Washington, DC 20037
                                            Telephone: 202.639.6500
                                            Facsimile: 202.639.6604
                                            E-mail: wscherman@velaw.com
                                            E-mail: jmansh@velaw.com



                                            Attorneys for Defendant Charles E. Jones




                                        8
Case: 2:20-cv-03785-ALM-KAJ Doc #: 669 Filed: 06/05/24 Page: 9 of 9 PAGEID #: 14488




                                   CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2024, a copy of the foregoing was filed electronically.

 Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

 Parties may access this filing through the CM/ECF system.



                                                                /s/ Carole S. Rendon
                                                                Carole S. Rendon


                                                                One of the Attorneys for Defendant
                                                                Charles E. Jones




                                                   9
